                Case 3:21-md-02981-JD Document 808-1 Filed 11/21/23 Page 1 of 2
                                      UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA

Cases: 3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
       21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                    PLAINTIFF’S ATTORNEY:              DEFENSE ATTORNEY:
 Hon. James Donato                         Lauren Moskowitz,                  Lauren Bell, Jonathan Kravis,
                                           Yonatan Even, Gary Bornstein,      Michelle Chiu, Brian Rocca,
                                           Brent Byars, Andrew Wiktor,        Kuru Olasa, Kyle Mach,
                                           Justin Clarke                      Justin Raphael, Glenn Pomerantz,
                                                                              Nick Sidney
 JURY TRIAL DATE:                          REPORTER(S):                       CLERK:
 11/21/2023                                Kelly Shainline                    Lisa R. Clark

 PLF    DEF      TIME
 NO.    NO.      OFFERED ID REC DESCRIPTION                                                               BY
                 9:09 am        Court in session; all parties and jury present.
                                Court advises parties and jury that trial will be held on
                                Friday, December 1, 2023, and the week of December 4th
                                will be dark.
                 9:12 am        Continued deposition of Donn Morrill
                 9:53 am                     Deposition of Sandra Alzetta
                                             Google Play Better Together Program Partnership
 1532                           X    X       ("Program") Addendum to the Google Play Developer            LRC
                                             Distribution Agreement (06/14/2022)
 2062                           X    X       Document                                                     LRC
                 10:29 am                    Court in recess.
                 10:49 am                    Plaintiff calls James Mickens, Ph.D. -- direct examination
                                             Witness accepted as an expert on mobile device security
                 11:59 am                    Court in recess.
                 12:48 om                    Cross-examination of James Mickens, Ph.D.
        21                                   Demonstrative
        11105                   X            No description provided.
                                             Blog post dated 12/19/2022, titled "Privacy and Mobile
        6595                    X            Device Apps," available at: https://www.cisa.gov/news-
                                             events/news/privacy-and-mobile-device-apps
        2                       X            Demonstrative
        6                       X            Demonstrative
        16                      X            Demonstrative
        19                      X            Demonstrative
                 1:32 pm                     Re-direct of James Mickens, Ph.D.
             Case 3:21-md-02981-JD Document 808-1 Filed 11/21/23 Page 2 of 2

PLF    DEF   TIME
NO.    NO.   OFFERED ID REC DESCRIPTION                                                       BY
             1:35 pm        Question from jury -- note #6
             1:43 pm              Defendants call Zhiyun Qian, Ph.D. -- direct examination.
                                  Witness accepted as an expert on mobile device security.
                                  Demonstrative
             2:00 pm              Court in recess.
             2:18 pm              Continued direct examination of Zhiyun Qian, Ph.D.
             2:48 pm              Cross examination of Zhiyun Qian, Ph.D.
                                  Percentage of Devices With at Least One App That Has
7196                    X         Permission to Download from Unknown Sources
                                  (November 2021) Worldwide (excl. China)
8607                    X         No description provided.
                                  Google blog post titled, “Enhanced Google Play Protect
                                  real-time scanning for app installs”,
8007                    X
                                  https://security.googleblog.com/2023/10/enhanced-google-
                                  play-protect-real-time.html
8577                    X         No description provided.
             3:23 pm              Court in recess.
                                  Court has discussion with parties regarding remaining
             3:25 pm
                                  witnesses and trial schedule.
             3:31 pm              Court in recess.
                                  Plaintiff has 833 minutes left.
                                  Defendants have 1591 minutes left.




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